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                                                         Dated: February 2nd, 2024


                      UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               IN PARKERSBURG


 IN RE:                                                  CASE NO. 6:24-bk-60001

 PRIMECARE MEDICAL OF WEST VIRGINIA,                     CHAPTER 7
 INC.,
                   Debtor.                               JUDGE B. MCKAY MIGNAULT



                         ORDER FROM HEARING ON
               APPOINTMENT OF PATIENT CARE OMBUDSMAN
______________________________________________________________________________

               At a telephonic hearing held the 1st day of February 2024, appeared:

                       Joe M. Supple, Counsel for the Debtor
                       Elizabeth Kavitz, Counsel for the U. S. Trustee
                       Thomas H. Fluharty, Chapter 7 Trustee
                       Thomas J. Weber, CEO of PrimeCare Medical of West Virginia, Inc.

               Upon the presentation of sworn evidence from the Debtor’s CEO that the Debtor

has not provided patient care since 2022 and has no ongoing operations, and for the reasons more

fully discussed on the record at hearing, the Court has determined that a Patient Care Ombudsman

is not necessary pursuant to 11 U.S.C. § 333 under the specific facts of this case.

               Accordingly, it is hereby ORDERED that a Patient Care Ombudsman is not

necessary pursuant to 11 U.S.C. § 333 and shall not be appointed in this case.
